                             EXHIBIT B




Case 1:24-cv-00710-WO-JLW   Document 146-2   Filed 06/10/25   Page 1 of 5
               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA,

                Plaintiff,

           v.

CORTLAND MANAGEMENT, LLC,                        No. 1:24-cv-00710-
                                                 WLO-JLW
                Defendant.



            CERTIFICATE OF COMPLIANCE WITH PROVISIONS
          OF THE ANTITRUST PROCEDURES AND PENALTIES ACT

     The United States of America hereby certifies that it has

complied with the Antitrust Procedures and Penalties Act

(“APPA”), 15 U.S.C. § 16, and states:

     1.   The United States filed the Complaint, Stipulation and

Proposed Order, and proposed Final Judgment on January 7, 2025.

(Docs. 47, 49, 49-1.) The United States filed the Competitive

Impact Statement on January 23, 2025. (Doc. 63.)

     2.   Pursuant to 15 U.S.C. § 16(b), the proposed Final

Judgment and the Competitive Impact Statement were published in

the Federal Register on January 30, 2025 (90 Fed. Reg. 8560

(2025)), and copies of the proposed Final Judgment and

Competitive Impact Statement were furnished to all persons

requesting them and made available on the Department of Justice

Antitrust Division’s website.




  Case 1:24-cv-00710-WO-JLW   Document 146-2   Filed 06/10/25   Page 2 of 5
        3.   Pursuant to 15 U.S.C. § 16(c), a summary of the terms

of the proposed Final Judgment and Competitive Impact Statement

was published in the Washington Post, a newspaper of general

circulation in the District of Columbia, from January 29 to

February 4, 2025, and in the Greensboro News and Record, a

newspaper of general circulation in Guilford County, North

Carolina, from January 29 to February 3, 2025, and on March 1,

2025.

        4.   No determinative materials or documents within the

meaning of 15 U.S.C. § 16(b) were considered by the United

States in formulating the proposed Final Judgment, so none were

furnished to any person pursuant to 15 U.S.C. § 16(b) or listed

pursuant to 15 U.S.C. § 16(c).

        5.   As required by 15 U.S.C. § 16(g), on January 16, 2025,

Defendant Cortland Management, LLC filed with the Court

descriptions of any written or oral communications made by or on

behalf of Defendant with any officer or employee of the United

States concerning the proposed Final Judgment. (Doc. 60.)

        6.   The public comment period specified in 15 U.S.C.

§ 16(b) commenced on January 30, 2025, and ran for at least 60

days.

        7.   The United States received and responded to one

comment on the proposed Final Judgment. The comment and the

United States’ response were filed with the Court on May 1,

                                   2



  Case 1:24-cv-00710-WO-JLW   Document 146-2   Filed 06/10/25   Page 3 of 5
2025. (Doc. 140.) The response and the location at which the

comment can be found were published in the Federal Register on

May 14, 2025, see 90 Fed. Reg. 20501 (2025).

     8.     The parties have, therefore, satisfied all of the

requirements of the APPA that were conditions for entering the

proposed Final Judgment. Pursuant to the Stipulation and

Proposed Order filed on January 7, 2025 and 15 U.S.C. § 16(e),

the Court may enter the Final Judgment after it determines that

the proposed Final Judgment serves the public interest. (See

Doc. 49.)

     9.     The United States’s Competitive Impact Statement and

Response to Public Comments demonstrate that the proposed Final

Judgment satisfies the public interest standard of 15 U.S.C. §

16(e).

     10.    Pursuant to the Stipulation and Proposed Order dated

January 7, 2025, Defendant Cortland Management, LLC stipulated

that the Final Judgment could be filed with and entered by the

Court, upon the motion of the United States or upon the Court’s

own motion, at any time after compliance with the requirements

of the APPA, and without further notice to any party or other

proceeding. (Doc. 49.)

     10.    The United States requests that this Court enter the

Final Judgment without further proceedings or hearings.



                                   3



  Case 1:24-cv-00710-WO-JLW   Document 146-2   Filed 06/10/25   Page 4 of 5
Dated: June 10, 2025                   Respectfully submitted,

                                       By:   /s/ Henry C. Su

                                       Henry C. Su
                                       David A. Geiger
                                       Kris A. Pérez Hicks
                                       Attorneys
                                       United States Department               of
                                       Justice
                                       Antitrust Division
                                       450 Fifth Street N.W.,
                                       Suite 7100
                                       Washington, DC 20530
                                       Telephone: (202) 307-6200
                                       Email: henry.su@usdoj.gov




                                   4



  Case 1:24-cv-00710-WO-JLW   Document 146-2   Filed 06/10/25   Page 5 of 5
